821 F.2d 649
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Floyd STEPHENS and Mary Stephens, Plaintiffs-Appellees,v.Michael STAMM, Defendant-Appellant,Daniel Kuehn, et al., Defendants.
    No. 86-1528
    United States Court of Appeals, Sixth Circuit.
    June 23, 1987.
    
      Before MERRITT, MARTIN and WELLFORD, Circuit Judges.
    
    
      1
      In accordance with the agreement reached between the parties in settlement discussions conducted pursuant to Sixth Circuit Rule 18, the parties jointly move to remand this cause to the United States District Court for the Western District of Michigan for determination of the parties' joint motion filed pursuant to Rule 60(b)(6), Federal Rules of Civil Procedure.
    
    
      2
      Upon consideration of the motion and further considering Judge Gibson's order of May 15, 1987,
    
    
      3
      IT IS ORDERED that the motion be and hereby is granted.  The appeal(s) is remanded to the District Court for further proceedings.  See First National Bank of Salem, Ohio v. Hirsch, 535 F.2d 343 (6th Cir. 1976).
    
    